           Case 1:08-cr-00175-LJO Document 49 Filed 01/29/09 Page 1 of 2


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     Assistant U.S. Attorney
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 4   Fresno, CA   93721
     Telephone: (559) 497-4000
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 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA       ) Case No. 1:08-cr-00175 LJO
                                    )
12                  Plaintiff,      ) STIPULATION AND ORDER
                                    ) FOR CONTINUANCE
13               v.                 )
                                    )
14   ANTONIO RANGEL, et al,         )
                                    )
15                  Defendants.     )
     _______________________________)
16
17        IT IS HEREBY STIPULATED by and between Lawrence G. Brown,
18   Acting United States Attorney and Kimberly A. Sanchez, Assistant
19   U.S. Attorney and Jack Revvill, Ian Heuston, Preciliano Martinez,
20   and Robert Forkner, attorneys for defendants, move for the
21   evidentiary hearing on defendants’ motion to suppress currently
22   set for January 30, 2009 at 1:30 p.m. to be continued to February
23   27, 2009 at 1:30   p.m.
24        There is potential Brady/ Giglio material for one or more
25   witnesses in this case that has not been sufficiently developed.
26   The government anticipates receiving such information in one to
27   two weeks.
28   //
              Case 1:08-cr-00175-LJO Document 49 Filed 01/29/09 Page 2 of 2


 1   Dated: January 29, 2009                   Respectfully submitted,
 2                                             LAWRENCE G. BROWN
                                               Acting United States Attorney
 3
 4                                       By     /s/ Kimberly A. Sanchez
                                               KIMBERLY A. SANCHEZ
 5                                             Assistant U.S. Attorney
 6   Dated: January 29, 2009                    /s/ Jack Revvill
                                               JACK REVVILL
 7                                             Attorney for Antonio Rangel
 8
     Dated: January 29, 2009                    /s/ Ian Heuston
 9                                             IAN HEUSTON
                                               Attorney for Juan Rangel
10
     Dated: January 29, 2009                    /s/ Preciliano Martinez
11                                             PRECILIANO MARTINEZ
                                               Attorney for Javier Lara
12
     Dated: January 29, 2009                    /s/ Robert Forkner
13                                             ROBERT FORKNER
                                               Attorney for Oscar Rivera-
14                                             Lopez
15   GOOD CAUSE EXISTS TO CONTINUE THE HEARING PURSUANT TO THE
16   STIPULATION.     TIME IS EXCLUDED DUE TO PENDING MOTIONS.
17   IT IS SO ORDERED.
18   Dated:   January 29, 2009              /s/ Lawrence J. O'Neill
     b9ed48                             UNITED STATES DISTRICT JUDGE
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